                Case 5:19-cr-00213-JGB Document 5 Filed 06/05/19 Page 1 of 2 Page ID #:28
   :Reset Norm
             ' ~                                    UNITED STATES DISTRICT COURT
                       ~
                       ~      ~~~ n~           ~ CENTRAL DISTRICT OF CALIFORNIA
                                  ~~
                                                                CASE SUMMARY

         Case Num           DC                  ~                                   Pendant Number
         U.S.A. v. SPARKLE SHORALE NELSON,et al.                            r~Y    ar of Birth 1987
       ✓ Indictment
       ~                                ~ Information                Investigative agency (FBI, DEA,etc.) ED-OIG , UPS Q ZS

NOTE: All items MUST be completed. If you do not know the answer or a question is not applicable to your case,enter "N/A."

OFFENSE/VENUE                                                             PREVIOUSLY FILED COMPLAIAIT/CVB CITATION
 a. Offense charged as a:                                                 A com ptaint/CVB citation was reviou~}~
                                                                                                                r~fi I eclg~n:
                                                                                                                        ~
                                                                          Case Number:                             ~'"    c_
    Class A Misdemeanor ~ Minor Offense ~ Petty Offense
                                                                          Assigned Judge:                         ~``~ ~
    Class B Misdemeanor ~ Class C Misdemeanor ~✓ Felony                                                         ~„_::_ ~
                                                                          Charging:                             '
                                                                                                                s°~"'                    '~1
 b. Date of Offense Unknown to on or about December 2014
                                                                          The complaint/CVB citation:             ~~c~     3
 c. County in which first offense occurred
                                                                                     is still pending               Rc
San Bernardino                                                                                                      r~      W
                                                                                  ❑ was dismissed on:                T~     ~p
 d. The crimes charged are alleged to have been committed in
  (CHECK ALL THAT APPLY):                                                 PREVIOUS COUNSEL
                                                                          Was defendant previously represented?          ~ No      ~ Yes
           Los Angeles             ~ Ventura
                                                                          IF YES, provide Name:
           Orange                    ~ Santa Barbara
                                                                                  Phone Number:
           Riverside                 ~ San Luis Obispo
                                                                          COMPLEX CASE
      0San Bernardino                ❑Other                               Are there 8 or more defendants in the Indictment/Information?
                                                                                   Yes*        ~✓ No
Citation of Offense 18 U.S.C. § 1349; 18 U.S.C.§ 1341;
                                                                          Will more than 12 days be required to present government's
18 U.S.C.§ 1343; 18 U.S.C. §1028A(a)(1)20 U.S.C.§ 1097(a)                 evidence in the case-in-chief?
e. Division in which the MAJORITY of events, acts, or omissions                   Yes*         ~✓ No
  giving rise to the crime or crimes charged occurred:                   *AN ORIGINAL AND 1 COPY(UNLESS ELECTRONICALLY FILED)
                                                                         OF THE NOTICE OF COMPLEX CASE MUST BE FILED ATTHE
    Western (Los Angeles,San Luis Obispo,Santa Barbara, Ventura)         TIME THE INDICTMENT IS FILED IF EITHER "YES" BOX IS
                                                                         CHECKED.
0 Eastern (Riverside and San Bernardino) ~ Southern (Orange)
                                                                         SUPERSEDING INDICTMENT/INFORMATION
RELATED CASE                                                             IS THIS A NEW DEFENDANT?            ~ Yes ~ No

Has an indictment or information involving this defendant and            This is the              superseding charge (i.e., 1st, 2nd).
the same transaction or series of transactions been previously           The superseding case was previously filed on:
filed and dismissed before trial?
       ~✓ No       ~ Yes
                                                                         Case Number
      If "Yes," Case Number:
                                                                         The superseded case:
Pursuant to General Order 16-05,criminal cases may be related
if a previously filed indictment or information and the present              is still pending before Judge/Magistrate Judge
case:
    a. arise out of the same conspiracy,common scheme,
       transaction, series of transactions or events; or                 ❑ was previously dismissed on

  b. involve one or more defendants in common,and would                  Are there 8 or more defendants in the superseding case?
     entail substantial duplication of labor in pretrial, trial or                Yes*        ~ No
     sentencing proceedings if heard by differentjudges.                 Will more than 12 days be required to present government's
                                                                         evidence in the case-in-chief?
Related case(s), if any(MUST MATCH NOTICE OF RELATED
                                                                                 Yes*         ~✓ No
CASE):
                                                                         Was a Notice of Complex Case filed on the Indictment or
                                                                         Information?
                                                                                  Yes         ~✓ No
                                                                         *AN ORIGINAL AND 1 COPY OF THE NOTICE OF COMPLEX CASE
                                                                         MUST BE FILED ATTHE TIME THE SUPERSEDING INDICTMENT IS
                                                                         FILED IF EITHER "YES" BOX IS CHECKED.
                Case 5:19-cr-00213-JGB Document 5 Filed 06/05/19 Page 2 of 2 Page ID #:29
                                                   UNITED STATES DISTRICT COURT
                                                  CENTRAL DISTRICT OF CALIFORNIA
                                                             CASE SUMMARY

INTERPRETER                                                           CUSTODY STATUS
Is an interpreter required?     ~ YES       0 NO                        Defendant is not in custody:
                                                                        a. Date and time of arrest on complaint:
IF YES, list language and/or dialect:
                                                                         b.Posted bond at complaint level on:
                                                                           in the amount of $
OTHER
                                                                         c. PSA supervision?    ❑Yes ❑ No
    Male           0✓ Female                                             d.Is on bail or release from another district:
~.5. Citizen      ~ Alien

Alias Names)                                                            Defendant is in custody:
                                                                         a. Place of incarceration: ~ State     ~ Federal

This defendant is charged in:                                            b. Name of Institution:
    0 All counts                                                        c. If Federal, U.S. Marshals Service Registration Number:
        Only counts:
                                                                         d. ❑ Solely on this charge. Date and time of arrest:
    This defendant is designated as "High Risk" per
     18 USC § 3146(a)(2) by the U.S. Attorney.
                                                                        e. On another conviction:       ~ Yes             ~ No
   This defendant is designated as "Special Case" per
                                                                             IF YES : ❑State            ~ Federal         ~ Writ of Issue
    18 USC § 3166(b)(7).
Is defendant a juvenile?            ~ Yes        ~✓ No                  f. Awaiting trial on other charges: ~ Yes ~ No

                                    ❑Yes         ~ No                        IF YES: ~ State       ~ Federal       AND
IF YES, should matter be sealed?
                                                                           Name of Court:
The areas)of substantive law that will be involved in this case
                                                                           Date transferred to federal custody:
indude(s):
    financial institution fraud    ~ public corruption                  This person/proceeding is transferred from another district
                                                                        pursuant to F.R.Cr.P.         20             21             40
0 government fraud                      ~ tax offenses
   environmental issues                 0✓ mail/wire fraud
   narcotics offenses                   ~ immigration offenses
   violent crimes/firearms              ~ corporate fraud

❑ Other




EXCLUDABLE TIME

Determinations as to excludable time prior to filing indictment/information. EXPLAIN:




         Date      06/03/2019
                                                                      Signature of Assistant U.S. Attorney
                                                                      SEAN D. PETERSON
                                                                      Print Name
